Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 1 of 19 PageID 1313

                                                                                       ,'-iN.
     er approval*LDrltt                                                 Chief   ap,p.or"\:-l
                             UNTTED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                          TAMPADTVISION

     UNITED STATES OF AMERICA

                                                 CASE NO. 8:2 1-CR-2 I8-CEH-AAS

     LEVI SIIARP,
          a,/k/a "SKETCH"

                                         PI-EAAGREEMENT

           Pursuant to Fed.       R Crim. P. I l(c),   the Uoited States of America, by Roger

     llandberg, United States Attomey for the Mddle District of Elorida, and the

     deferrdang   kvi   Sharp, and the atlomey for the defendant, Brian Shrader, Esq.,

     mutually agree as follows:

     A-    ParticularizedTcrms

            l.     Count(s) Pleading To

                   The defendant shall enter a plea of guilty to Couot Two of the

     Indictment. Count Two charges the defendant with committing assault in aid of

     rad<eteering in violation of lE U.S.C. g 1959(a[3).

           2.      Maximum Penalties

                   Count Two carries 2 621i11rrm sentence of 20 years in prison, a fine

     not to exceed $250,000, a term of sr:perrised release trot to exceed three years, and a

     special assessment of   $   100.




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Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 2 of 19 PageID 1314




                    Witi   respect to certain offenses, the Court shall order the defendant to

    make restitution to any yictim of the offense(s), and with respect to other offenses,

    the Court may order the defendart to make restitution to any victim of the offense(s),

    or to the community, as set forth below.

          3.        Elements of the Offense

                    The defendant acbrowledges uoderstanding the nature and elements            of

    the offenses with which defendaot has leen charged and to which defendant is

    pleading guilty.

                    The elements of Coutrt Two (Assault in Aid of Racketeering) are:

          First             The Unforgiven was an "eaterprise" as defined in 18
                            u.s.c. $ lese(bX2);

           Second:          The enterprise engaged in, or its activities affected, interstate
                            or foreign conmerce;

          Third:            The enterprise, through is members and associates,
                            engaged in "racketeering activity" as defined in 18 U.S.C.
                            $$ lese(bxt) and 1961(1);

           Fourth:          The defendant committed a crime of violence, specifically,
                            Assault with Deadly Weapon or With Serious Bodily Injury,
                            which violated either state or federal law; and

           Pifth:           The crime of violelce was for the purpose of gaining
                            entance to or maintaidng or increasing position in the
                            enterprise.




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    Defendant's Initials      Lde
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 3 of 19 PageID 1315




          4.     Coun* Dismissed

                 At the time of senterrcing, ihg 196: ining count against the defendant,

    Cormt Three, will be dismissed pursuant to Fed. R. Crim. P. 1l(cXlXA).

          5.      No Further Charges

                 If the Court accepts this plea agreement, the United States Attomeys

    Ofrce for tle Middle District of Florida agrees not to charge defendaut with

    committing   a.ny   other federal aiminal offenses Lnown to the United States

    Attomey's Ofrce at the time of the execution of ttris agreemetrt, related to the

    conduct giving rise to rhis Plea agreemeot.

           6.     Guidelines Sentence

                  Pu$uant to Fed.    R   Cdm. P. ll(cXlXB), the United States will

    recommend to the Court that the defendant be sentenced within the defendant's

    apptcable guidelines range as determined by the Court pursuant to the United States

    SenGncing Guidelines, as adjusted by any departure the United States has agreed to

    recommend in this plea agreement. The parties understand that such a

    recommendation is not binding oo the Court and thaq if it is not accepted by thig

    Courg neither the United States nor the defendant will be allowed to withdraw ftom

    the plea agreemetrt, and the defendaat will not be allowed to withdraw from the plea

    of guilty.




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    Defendant's Irridrb Ll^J     9
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 4 of 19 PageID 1316




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                 At the time of sentencing, and in the event that no adverse information

    is received suggesting such a recommendation to be unwarranted, the United States

    will not oppose the defendant's request to the Court that the defendant receive a two'

    level downward adjustmetrt for accep,tance of responsibility, pursuant to USSG

    $3E1.1(a). The defendant understands that this recommendation or request is not

    binding on the Court, and if not accepted by the Courg the defeodant will not be

    allowed to withdraw from the plea.

                 Further, at the time of sentencing, if the defendant's of;[ense 1evel prior

    to operation of subsection (a) is level   16   or $eate\ and if the defendant complies

    with the provisions of USSG $3E1.1(b) and all terms of this Plea Agreement,

    including but not limited to, the timely zubmission of the financial affidavit

    referenced in Paragraph B.5., the Uaited States agrees to file a motion pursuant to

    USSG $3E1.1(b) for a downward adjustmeat of one additional level. The defendant

    understands thatthe determination as to whether the defendant has qualified for a

    downward adjustuent of a third leve1 for acceptance of responsibility rests solely

    with the United States Attomey for the Middle District of Florida, and the defendant

    agrees that the defendant cannot and      will not challenge that determhatioo, whether

    by appeal, collateral attack, or otherwise.

           8                                                   beC

                  Defendant agrees to cooperate fully with the United States in the

    investigation and prosecution of other persoos, and to testi&, subject to    a   prosecution

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    Defendant's Initials
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Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 5 of 19 PageID 1317




    for perjury or making a false statemert, frtlly and truthfirlly before any federal court

    proceeding or federal grand jury in connection with the charges in this case and other

    matters, such cooperatioa to firrther include a fuIl and coaplete disclosure of all

    relevant information, including production of any and allbools, papers, documenB,

    and other oQiecs in defendant's possession or cootrol, and to be reasonably available

    for interviews which the United States may requlre. If the cooperation is completed

    prior to setrtetrcing, tbe govemment agrees to consider whettrer such cooperation

    qualifies as "substantial assistance" in accordaace     witl    the poliry ofthe United States

    Attomey for the Middle District of Florida, wananting the filing of             a   motion at the

    time of senteucing recommending (1) a downward departure from the applicable

    guideline range pursuant to USSG $5K1.         l, or (2) the imposition     of a senrcnce below

    astatutoryminimum, if any, pursuantto          18   U.S.C.   $ 3553(e),   or(3)both.

                  If the cooperation is completed subsequent to sentencing, the

    govemmetrt agees to consider whether such cooperation qualifies as "subsantiai

    assistatrce" in accordance   witl    the policy of the United States Attomey for the

    Middle District of Florida, warranting the fiIing of a motion for          a   reduction    of

    sentence within one year of the imposition of sentence pursuant to Fed. R, Crim. P.

    35(b). In any ciue, the defendant understands that the deterrnjnation               as   to whether

    "substantial assistance"   ha-s   been proyided or what type of motion related thereto           will
    be filed, if auy, rests solely with the United States Attomey for the Middle District               of

    Florida, and the defendant agrees that defendant cannot and will not challenge that

    determination, whether by appeal, collateral attack, or otherwise.


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Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 6 of 19 PageID 1318




             9.    Use of Information - Section 181.8

                   Pursuaat to USSG 01B1.8(a), the United States agrees that no self

    incriminating information which the defendant may provide during the course of

    defendant's cooperation and pusuant to this ageement shall be used in determining

    the applicable sentencing guideline range, subject to ttre restrictions and limitations

    set   forth in USSG 5181.8O).

             10.   Cooperation - Responsibilities of Parties

                   a.    The govemmeat will make known to the Court and other

   relevaat authorities ttre nanre and exteot of defendant's coopeatioa and any other

   mitigating circumstances indicative of the defendant's rehabilitative intent by

    assuming the fundamental civic duty of reporting crime. However, the defendant

   understaads that the govemment can make no rqnesentation that the Court          will
   impose a lesser sentence solely on account of, or in consideration of, such

   cooperation.

                   b.    It is undectood that should the defendant knowingly provide

   incomplete or uffiutbfirl testimony, statemetrts, or information pumuant to this

   agxeement, or should the defendant falsely implicate or incriminate any persoD, or

   should the defendant fail to voluntarily and unreseryedly disdose and provide fu1l,

   complete, truthfirl, and honest knowledge, iaformation, and cooperation regarding

   any of the matters noted herein, the followiag conditions shall apply:




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   Defendant's     Iddab Lh/9
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 7 of 19 PageID 1319




                         (1)     The defendant may be prosecuted for any perjury or false

    declarations, if any, committed while testifting pursuant to this agreement, or for

    obstructiou of justice.

                         @       The United States may prosecute the defrndant for the

    charges which are to be dismissed pursuanl lq th'is agreement,   if any, and may either

    seek reinstatement of or    refile zuch cbarges and prosecute the defendant thereon in

    tle   event zuch charges have been dismissed pursuaot to rhis agreement. With regard

    to such charges, if arry, which have been dismissed, the defendant, being fully aware

    of the nature of all zudr charges now pending in the instaat case, and being further

    aware of defendaot's rights, as to all felony charges pending in such cases (tlose

    offenses punishable by imprisonment for a tenn of over one year), to not be held to

    irnsv/er to said felony charges unless on a presentmeart or indicment of a grand jury,

    and fi:rther being aware that all such feloay charges in the instant case have

    heretofore properly been retumed by the indictment of a graad jury, does hereby

    agxee   to reirstatement of such charges by rescissioa of any order dismissing them or,

    altematively, does hereby waive, in opea court, prosecution by indictrnent and

    conseots that &e United States may proceed by informatiou instead of by indictment

    with regard to any felony charges which may be dismissed in the instant case,

    pursuaat to this plea agreement, and the defendant further agxees to waive the statute

    of limitations and any speedy trial claims on such charges.

                          (3)    The United States may prosecute the defendant fot any

    offenses set forth helein, if any, the prosecution of which in accordance srith rhis

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    Defendant's Inidak    Lt,
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 8 of 19 PageID 1320




    agreement, the United States agrees to forego, and the deftndaat agrees to waive the

    statute of limitations and any speedy trial daims as to any such offenses.

                          (4)     The govemment rray use ageinst the defendant the

    defendant's own admissions and statemeats and the informatioo and bools, papers,

    documeats, and objects that the defendant has fumished in the course of the

    defendants cooperatioo with the govemment.

                         (,       The defendant will not be permitted to withdraw the guilty

    pleas to those counts to which defendant hereby agrees to plead in the instant case

    but, in that eveng defendant will be entitled to the sfltencing limitations, if any, set

    forth in rhis plea agreemetrt, with regard to those counB to which the defendant has

    pled; or in the altemative, at the option of ttre United States, the Uoited States may

                                   .his
    move the Court to 6[gdars             entire plea agreement null aad void.

           11.

                   The United States of America and defendant hereby agree that any

    firearm andlor ammunition as defined in 18 U.S.C.          $   921, seized from defendant and

    currently    in the custody audlor control of the Bureau of Alcohol, Tobacco               and

    Firearms, were properly seized and are zubject            to forfeiture to tte   govemment

    according to l8 U.S.C.    S   92qd) andlor that the firearms and ammumition coastitute

    evidence, contrabar:d, or fruits of the crime to which he has pled           guilty. As   such,

    defendant hereby relinquishes all claim, title aad interest he has in the firearms and

    ammunition to the United States of America with the understanding and oousent that

    the Court, upon approval of this aSeemeut, hereby directs the Bureau of Alcohol,
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    Defendant's Inidals   Lrd5
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 9 of 19 PageID 1321




    Tobacco and Firearms, or other appropriate agency, to cause the firearms andlor

    ammunition descnlbed above to be destroyed forthwith without further obligation or

    duty whatsoever owing to defendant or any other person.

                      As part of the plea agreemetrt in this case, defendant hereby voluntarily

    abandons aX right and daim to the following firearm aad ammunition:

                    i.   A Weihrauch, Hermann EA/R .357 caliber revolver, S/N: 17212M;

                   ii.   An unknown .22 czljf,er nfiq S,rN: 0852802;

                  iii.   A   Savage 6 .22 caliber nfle; arrd.

                  iv.    50 Rounds of Fiocchi .357 ammrrnition.

   B.       Standard Terms and Conditions

            1.        Restitution, Special Assessment and Fine

                      The defendant understands and agrees that the Court, ia addition to or

   in lieu of any other penalty, shall order the defendant to make restitution to any

   victim of the offense(s), pursuatrt to l8 U.S.C.           S   3663A, for all offenses described in

    18   U.S.C.   S   3663A(c)(l); and &e Court may order the defendant to make restitution

   to any victim of the offense(s), pusuant to           18   U.S.C.   S 3663,   induding restitution    as

   to all coun8 charged, whether or not ttre defendant enters               a   plea of guilty to such

   counts, and whether or aot zuch cormts are dismissed pursuant to this agreement.

   The defendant firrther understaa.ds that complianse with any restitution payment

   plan imposed by the Court in no way precludes the United States from

   simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

   S 3003@X2),         including, but not limited to, gamishment and execution, pursuant to
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   Defendant's        l"idrh   LLug
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 10 of 19 PageID 1322




    the Mandatory Victims Restitution Act, in order to ensure      tlat   the defendant,s

    restitution obtigation is satisfied.

                  On each count to which a plea of guilry is entered, the Court shail

    impose a special assessmetrt punuart to l8 U.S.C. S 3013. The special assessment is

    due on the date of sentencing.

                  The defendant understands that this agreemetrt imposes no limiation as

    to fine.

           2.     Supervised Release

                  The defeodant understands that the ofense(s) to whict the defendant G

    pleading trnovide(s) for imJ'osition ofa term of supervised release upoa release ftom

    imprisonmeng and that, if the defendant should violate the conditions of release, the

    defedant would be subject to     a   further term of imprisonment.

           3.     Immigration Consequences of Pleading Guilty

                  The defendant has Sssa advised and understands tbat, upon conviction,

    a defendant vrho is    aot a United States citizen may be removed from the United

    States, deuied citizenship, and denied admission to the United Sates in the firture.

           4.     Sentencinglnformation

                  The United Sates reserves its right aod obligation to report to the Court

    aod the Udted States Probation Office all information conceming the background,

    character, aad conduct ofthe deferrdang to provide relevant factual information,

    induding the totality of the defendant's crimiml activities, if any, not limited to the

    corm(s) to which defetrdant pleads, to respoad to comments made by the defendaat

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    Defendant's Initials
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Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 11 of 19 PageID 1323




    or defendant's counsel, and to correct any misslals6eots or inaccurasies. The

    United States firrther reserves its right to make any recom.mendations it deems

    appropriate regarding the disposition of this case, subject to any limitations set forth

    herein, if any.

           5.     FinancialDisclosures

                  Pursuant to 18 U.S.C. S 3664(dX3) and Fed. R. Crim. P. 32(dX2XAXii),

    *re defendant agrees to complete and zubmit to the United States Attomey's Offi.ce

    within 30 days of execution sf this agreement an affidavit reflecting the defendant's

    financial conditioo. The defendant promises that his financial statement aod

    disdosures will be complete, accurate and truthfirl and will include all assem in

    which he has any interest or over which the defendant exercises control, directly or

    iadirectly, induding those held by a spouse, depeodent nominee or other thtd party.

    The defendant further agrees to execute any documents requested by the United

    States needed to obtain from any third parties any records ofasseB owned by the

    defendant, directly or tfuough a nominee, and, by the execution 6f this Plea

    Agreement, consents to the release of the defendant's tax returns for the previous five

    years. The defendlant similarly agrees and authorizes the United States Attomey's

    Ofrce to provide to, and obtain from, the United States Probation Office, the

    finaocial affidayit, any of the defendant's federal, state, and local tax retums, bank

    records and any other financial information conceming the defendang for the

    purpose ef making any recommendations to the Court and for collecting any

    assessments, fines, restitution, or forfeiture ordered by the   Court. The defendant
                                                11
    Defendant's Irid.k LIJS
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 12 of 19 PageID 1324




     expressly authorizes the United States Attomey's Office to obr.iin curerrt   cedit
    reports in order to evaluate the defendant's ability to satisfu any financial obligation

    imposed by the Court.

           6.     SentencingRecommendations

                  It is understood by the parties that the Court is neither a party to nor

    bound by this agreement. The Court may acc€pt or reject the agreemetrt, or defer a

    decision until it has had an opportunity to consider the presentetrce report prepared

    by the United States Probation Off.ce. The defendant understands and

    acknowledges that, although the parties are permitted to make recommendations and

    present argumenB to the Court, the seDtence will be determined solely by the Court,

    with the assistance of the United States Probation Office. Defendant further

    understands and acknowledges that any discussions between defendant or

    defendanfs attomey and the attomey or other agen8 for the govemment regarding

    any recommendations by the governmeat are not binding on the Court and that,

    should any recommendatioos be rejected, defendant witl not be permitted to

    withdraw defendant's plea pursuant to this plea agreement. The govemment

    expressly reserves the right to support and defend any decisioo that the Court may

    make with regard to the defendant's setrteoce, whetler or not zuch decision is

    consistent with the govemment's recommendations cortained herein.

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                 The defendant agrees that this Court has jurisdiction and autlority to

    impose any sentence up to the statutory maximum and expressly waives the right to

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    Defendant's Initials   u)9
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 13 of 19 PageID 1325




    appeal defendant's setrtence on any ground, including the grouad that the Court

    erred in determining the applicable guidelines range pusuant to the United States

    Sentencing Guidelines, except (a) the ground that the sealtence exceeds the

    defendads applicable guidelines range       as determined by the   Court pursuatrt to the

    United States Sentencing Guidelines; (b) the ground that the sentence exceeds the

    statutory maximum peoalty; or (c) the ground that the sentence violates the Eighth

    Amendment to the Constitution; provided, however, that if the govemment exercises

    its right to appeal the sentence imposed, as authorized by 18 U.S.C. g 3742@), then

    the defendaat is released from his waiver and may appeal the sentence as audrorized

    by   18   U.S.C. $37a2@).

              8.    Middle District of Florida Agreement

                    It is furttler unfurstood that this agreement is limited to the Office of the

    United States Attomey for the Middle District of Florida and cannot bind other

    federal, state, ot local prosecuting auttrorities, although this office will bring

    def€ndaofs cooperation, if any, to the attention of other prosecuting officers or

    others, if requested.

              9.    Filing of Agreement

                    This agreement shell be frresented to the Court, in open court or in

    catrrera, in whole or in part, upon a showing of good cause, and flled in this cause, at

    the time of defendaat's entry of a piea of guilty purnrant hereto.




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Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 14 of 19 PageID 1326




            10.   Voluntariness

                  The defendant acknowledges that defendant is entering into this

    agreement and is pleading guilty freely and voluntaxily without reliance upon any

    discussions betweea the attomey for      tie govemment      aod the defendant and

    defendant's attomey and without promise ofbenefit of any kind (ottrer than ttre

    coocessions contained herein), and without threats, force, intimidation, or coercion

    of any kind. The defendant further acknowledges defendant's understa n ding of the

    nature of the offense or offenses to which defendant is pleading guilty aod the

    elements thereof, induding the penalties provided by law, and defendant's complete

    satisfaction with the representation and advice received from defeadant's

    undersigned counsel (if auy). The defendant also understands that defendant has the

    right to plead not guilty or to persist in that plea if it has already been made, and that

    defendant has the right to be tried by   a   jury with the assistance of counsel, the right

    to confrotrt and cross<xamine the witnesses agai::s defendanq the right against

    compulsory self-incrimination, aad the right to cornfulsory process for       tle
    attendance ofwitnesses to testi& in defendant's defense; but, by pleading guilty,

    defeardant waives or gives up those rights and there      will be no trial. The defendant

    further rmderstands that if defendant pleads gudty, the Court may ask defendant

    questions alout the offense or offenses to which defendant pleaded, and if defendant

    answers those questions under oath, on the record, and in the preseoce eggprrnsel         (if
    any), defendant's ansurers may later be used against defendaft in a prosecution for

    perjury or false statement. The defendant also understands that defendant will be

                                                   14
    Defendant's   I,id.l,   Ld5
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 15 of 19 PageID 1327




     adjudicated guilty ofthe ofenses to which defendant has pleaded and if any of such

    ofenses are felonies, may thereby be deprived of certaia righe, such as the right to

    vote, to hold public offfice, to serve otr   a   jury, or to have possession of firearms.

           11.    Factual Basis

                  Defendant is pleading guilty because d€fendant is in fact            guilty. The
    defendant certifies    tiat   defendant does hereby admit that the face sa forth below are

    tnre, and were this case to go to trial, the united states would be able to prove those

    specific faca and othels beyond a reasonable doubt.

                                                 FACTS
           Prior to the eveots described in the counts of the Indictment in this case, and

    continuing until at least up to and induding the date of the Indictuert, the

    defendants and otiers were members ,nd associates of rhe unforgiven, a yiolent,

    white-supremacist organization, whose activities affected interstate and foreigrr

    commerce (the Enterprise). The Enterprise had the purposes, and used the means

    and mettrods, described in the *Introduction,, of tbe Indicmeot.

          The Enterprise, through iB members and associates, engaged in racketeering

    activity as defined in 18 U.S.C. gg l959OXl) and 1961(l), namely:

                  a.   acts and ttrreats involving murder, in violation of Sections 7g2.04,
                       777.011, atd777.04 of the Florida Statutes;

                 b.    acts and threats involving kidnapping, in violation of Sections
                       787.01(1)(a), 777.011, atd777.04 of the Florida Statutes;

                 c.    acts   involvirg robbery, in violation of Sections 812.13(l) and
                       777 .011 the   Elorida Statutes;


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    Defendant's Initials      Lu)\
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 16 of 19 PageID 1328




    acts indictable under the following provisions of ftderal law, induding:

                     d.   18   U.S.C. $ 1503 (relating to obstruction ofjustice); and

                     e.   18 U.S.C. $ l5l2 (relating   1e   tampering with witnesses, victims, or
                          informaots);

    aod offenses involving the felonious matrufacfirre, receiving, concealmeng buying,

    selling, and otherwise dealing in confrolled substances or listed chemicals, in

    violation   of
                     f.   21 U.S.C. $ E41 (distributing and possessing     v.itl   intent to distrr'bute
                          controlled zubstances); and

                     g.   21 U.S.C. $ 846 (consptacy and atrempt to distribute and possess
                          with inteat to distrbute controlled substances).

    Unfrrgiven members often used Florida Department of Corrections Officials to

    smuggle in controlled substances and other contraband for incarcerated members                  of
    the Unforgiven and to facilitate or commit acts of violence. Correctional Officen also

    used Unforgiven members to commit acts of yiolence on their behalf.

           The Enterprise committed yiolence agaiast perceived racial enemies, as well iui

    its own members who failed to abide the Entergrise's constitution andby-laws                 (is
    code). The Enterprise viewed cooperation with law enforcement as one of the most

    serious violations of its code, and one which required extreme punishment.

           The Enterprise often revoked the membership of those who violated its code

    with extreme violence, induding by forcibly defa,-ing the member,s patch tattoos or

    otherwise violently mutilating the        'kill zone'   areas of the bodies bearing those parch

    tattoos.


                                                     16
    Defendant's      l"rdrb LUl,
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 17 of 19 PageID 1329




            Defendant Levi Sharp was a member of the Council-ttre state-wide

    leadership-of the Unforgiven. Oo January 19, 2019,Sharp hosted a state-wide

    Unforgiven meeting at his home in Satsuma" Florida. The night befiore the meering,

    Maher informed members that they would need to take C.L.'s patch. So, Sharp,

    Maverick Maher, George Andrews, Joshua Fisher, and others beat Unforgiven

    member C.L., ostensibly for C.L.'s violation of Unforgiven rules. The beating

    knocked out C.L.'s teetl, gave him a concussion, and caused him to repeatedly lose

    consciousness. While C.L. was held down, Maher forcibly tattooed black ink stains

    over C.L.'s tattoos. Fisher urinated on C.L.'s head. At one poing Fisher attempted to

    "curb stomp," C.L. (force him to lie on the ground, with his mouth biting the edge   of
    a   cwb, and then stomp on the back of his head to split his skull open), but Sharp and

    Andrews restrained Fisher. During the beating, Fisher repeatedly brandished a

    firearm and daimed he would kill C.L. if they weren't at Sharp's house.

            C.L. was then placed into Fisher's truck with Fisher and Sharp. Fisher began

    driving toward the woods. C.L., believiog that Fisher and Sharp intended fe kill him,

    jumped from the truck and escaped.

            C.L. was held against his will and understood that he was not free to go, eitter

    and at the residence and during the transport. Later, Fisher reiterated to the Council

    that he would have killed C.L. if they had not been at Sharp's house.

            In Sepember 2021, Sharp tanooed Brandon Williamsoo,, a/Wt "Qhaingang,"

    with an Unforgiven patch, rewardi.g him with membership in the Unforgiven,

    because of Williamson's stabbing of J.T. (charged in Count One of the Indicm.ent).

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    Defendant's Initials   Lrtt
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 18 of 19 PageID 1330




    Brandon Welch, a/k/ a "Scumbag," vouched for Williasrson, supporting his

    membersbip.

           The above is merely    a   brief summary of the evenB, some of the persons

    involved, and other i::formation relating to this case and does not include, nor is it

    intended to include, all of the evmB, persoDs iavolve4 or other inforrnation relating

    to this case.

           12.      Entire Agreement

                    This plea agreemetrt constitutes ttre entire agreement between the

    govemment and the defenda:rt with respect to the aforementioned guilty plea and no

    otbe promises, agreements, or representations exist or have been made to the

    defendaat or defeodants attomey vrith regard to such guilty plea.




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    Defendant's Inidab     LuJ(
Case 8:21-cr-00218-WFJ-AAS Document 376 Filed 01/26/22 Page 19 of 19 PageID 1331




          13.    Certifi.cation

                 The defendant and defendant's counsel certify that this plea agreement

    has been read in its entirety by (or has been read to) the defendant and that de&ndant

    fullv understands is terms.

          DArED     ,* tftqtz*, of                     2022




                                                  ROGERB. HANDBERG
                                                  United States Attomey



                                                                      €Atl,lN ra,t €. q€a< /tl 4
    Defendant                               F,t           United States Attorney



                  , Esq.                                             Jr.
             for Defendant                                 United States Attomey
                                                        Violeat Crimes and
                                                  Narcotics Section (Acting)




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